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            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
____________________________
TONIA OLIVER                  :
294 Rafferty Road             :
Montrose, PA 18801            :
                              :
            Plaintiff         :
      v.                      :
                              :    (Judge Mariani)
                              :
SCRANTON MATERIALS INC., :         Civil Action No.:
/aka/ /dba/ “THE H & K GROUP :     3:14-CV-00549
819 Newton Road               :
Scranton, PA 18504            :    Jury Trial Demanded
                              :
            Defendant         :


          FIRST AMENDED COMPLAINT – CIVIL ACTION

      Plaintiff, Tonia Oliver, residing at 294 Rafferty Road, Montrose

PA, brings this First Amended Civil Action Complaint against the

defendant for employment discrimination on the basis of sex in

violation of Title VII of the Civil Rights Act as amended (“Title VII”),

pregnancy discrimination in violation of Title VII, and discrimination in

violation of the Americans with Disabilities Act as amended, 42

U.S.C. § 12101 et. seq., (ADAAA) and says that:

                              THE PARTIES

      1. Plaintiff, Tonia Oliver, (hereinafter, plaintiff) is an adult,

         female resident of Montrose Pennsylvania.
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 2. At all relevant times, plaintiff was, and continues to be, an

    individual entitled to the protections of Title VII and the

    ADAAA in that her gender is female, she was pregnant, and

    her pregnancy was a multiples birth with medical

    complications resulting in a disability within the meaning of

    ADAAA.

 3. Defendant, Scranton Materials Inc. (hereinafter,

    “defendant”) , at all relevant times was a corporation or other

    business entity with a location in Scranton, Pennsylvania.

 4. At all relevant times, defendant had at least 15 employees,

    and was continually doing business in Scranton, PA.

 5. At all relevant times, defendant has been, and continues to

    be, an employer engaged in an industry affecting commerce

    within the meaning of Title VII and the ADAAA.

                 PROCEDURAL BACKGROUND

 6. Plaintiff has satisfied any and all procedural and/or

    administrative requirements set forth in Title VII and the

    ADAAA In particular; she filed a timely charge of

    discrimination with both the Equal Employment Opportunity

    Commission (EEOC).



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 7. The EEOC issued a “notice of right to sue” letter dated

    December 19, 2013 which was then mailed to plaintiff by

    United States Mail from the EEOC Field Office in Ohio and

    was received on or about December 24, 2013.

 8. As the events complained of occurred within Scranton

    Pennsylvania. Thus, jurisdiction and venue are proper in

    this Court.

                    FACTUAL BACKGROUND

 9. Plaintiff was employed by defendant in an executive capacity

    in which she handled stone accounts and, beginning in 2010

    became a project manager for a project known as the

    Scranton University or “U Project”.

 10.   At all relevant times, plaintiff was qualified for her position,

    and performed her job duties in the manner required by

    defendant.

 11.   In the late spring or early summer of 2011, plaintiff made

    defendant, particularly her supervisor Mr. Scarantino, aware

    that she was pregnant.




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 12.   Mr. Scarantino was not happy about the pregnancy and

    upon learning of it, he subjected plaintiff to a hostile and

    retaliatory work environment.

 13.   Specifically, Mr. Scarantino had a change of attitude

    toward plaintiff and began cutting her out of important

    meetings and completely excluding her from activities

    relating to the “U Project” she was responsible for.

 14.   Scarantino also made gender and pregnancy based

    comments toward plaintiff such as “he didn’t see how it

    would be possible” for her to work with young children, and

    on at least on occasion he remarked “f---ing babies”.

    Additionally, he became angry when she requested reduced

    working hours and to modify her schedule due to pregnancy

    complications.

 15.   Plaintiff repeatedly assured Scarantino of her intent to

    return to work following the birth of her triplets.

 16.   On or about July 25, 2011, plaintiff notified defendant that

    due to complications from her pregnancy and undue stress

    created by Scarantino at work, she would need to go on

    short-term disability.



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 17.   During her period of pregnancy related disability leave,

    plaintiff continued to assure defendant of her intent to return

    to work sometime in December of 2011.

 18.   On or around December 6, 2011, plaintiff e-mailed

    defendant that due to the complications of her pregnancy

    and associated surgery she would need to remain off work

    for an additional 4 weeks, but that she would be cleared to

    work, and intended to return to work with no restrictions as of

    January 2, 2012.

 19.   On or about December 8, 2011, plaintiff’s supervisor,

    John Scarantino informed her by phone that her employment

    was being terminated effective January 2, 2012 and she

    would not be permitted to return to work.

 20.   At or around the same time, defendant laid off at least two

    male employees.

 21.   Those male employees were later permitted to return to

    work, while plaintiff was not permitted to return.

                         COUNT I
            TITLE VII 42 U.S.C. § 2000e et seq.

 22.     Plaintiff incorporates by reference paragraphs 1 through

    21 as though each were set forth in their entirety.

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 23.     Defendant engaged in unlawful employment practices

    on the basis of sex in violation of 42 U.S.C. § 2000e-2 and

    42 U.S.C. § 2000e et seq., by subjecting plaintiff to a hostile

    work environment on the basis of sex and pregnancy.

 24.     Defendant’s conduct, as averred above, has deprived

    plaintiff of employment opportunities and adversely affected

    her status as an employee because of her sex and

    pregnancy in violation of Title VII.

 25.     The Defendant’s unlawful employment practices

    complained of above were willful in that they were committed

    with reckless disregard toward plaintiff’s federally protected

    rights, as set out in Title VII.

 26.     As a result of defendant’s conduct, plaintiff suffered and

    continued to suffer economic damages, including, but not

    limited to, lost wages and benefits, lost opportunities for

    advancement within the company, emotional pain and

    suffering, inconvenience, loss of enjoyment of work and

    humiliation.




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                          COUNT II
       RETALIATION – TITLE VII 42 U.S.C. § 2000e-3 et seq.
                and ADAAA 42 U.S.C. § 12203

 27.     Plaintiff incorporates by reference paragraphs 1 through

    26 as though each of those were set forth in their entirety.

 28.     Plaintiff engaged in protected activity under Title VII

    when she complained to Marci Kirkpatrick in defendant’s

    human resources department, that due to Scarantino’s

    change in attitude and sexually hostile behavior toward her

    once he learned of her pregnancy, she was afraid to take

    pregnancy leave.

 29.     Due to her desire to continue working with defendant for

    as long as possible before the birth of her children, and to

    return to work afterwards, plaintiff was afraid to complain to

    others outside of human resources.

 30.     Other than to assure plaintiff of her right to take leave if

    she needed it, human resources did not respond to her

    complaint.

 31.     Following this complaint, defendant retaliated against

    plaintiff by, among other things, cutting her out of meetings

    on the “U Project”, complaining of her need for pregnancy



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    related leave, and asking her to accept a salary reduction

    due to her pregnancy and need for leave.

 32.     Plaintiff engaged in protected activity under the ADAAA,

    when on or about December 6, 2011, she contacted

    defendant and requested a reasonable accommodation.

    Specifically, she requested a short period of additional leave

    due to complications related to her pregnancy with and birth

    of her triplets.

 33.     On or about December 8, 2011, within just two days of

    this request for reasonable accommodation, defendant

    notified plaintiff that her employment would be terminated

    effective January 2, 2012, and she would not be permitted to

    return to work.

 34.     The effect of defendant’s aforementioned unlawful

    employment practices has been to deprive plaintiff of

    employment opportunities and adversely affect her status as

    an employee because of her pregnancy, sex and disability.

 35.   As a result of defendant’s unlawful retaliation, plaintiff

    suffered the damages alleged in paragraph 26 above.




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             COUNT III- DISABILITY DISCRIMINATION
               ADAAA- 42 U.S.C. § 12101 et seq.


 36.     Plaintiff incorporates by reference paragraphs 1-35 as

    though each were set forth in their entirety.

 37.     At all relevant times, plaintiff was an individual with a

    disability in that she had an actual disability, a record of

    disability, and/or defendant regarded her as having a

    disability under the ADAAA.

 38.    At all relevant times, plaintiff suffered from an impairment

    which substantially limited one or more major life activities

    including but not limited to, breathing, performing manual

    tasks, walking, standing, sitting, and working. Additionally,

    plaintiff’s impairment substantially limited major bodily

    functions of her respiratory, digestive and circulatory

    systems.

 39.   Specifically, due to her pregnancy with triplets, plaintiff

    experienced complications and symptoms, including but not

    limited to, lumbar lordosis – sometimes described as “sway-

    backed posture” which impaired the musculoskeletal system,

    sitting, standing and walking; pregnancy induced carpal



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     tunnel syndrome which impaired her neuromuscular and

     neurological system, as well as substantially limited her

     ability to perform manual tasks such as grasping or holding a

     glass of water; dependent edema in her feet and legs which

     substantially limited her ability to stand and walk, and also

     placed strain on her cardiovascular system; dyspnea – also

     called shortness of breath, substantially limiting her ability to

     breath and requiring breaks for rest; extreme fatigue; GERD

     or acid reflux which impaired her ability to eat and her

     digestive system; hypertension preeclampsia, which

     substantially limited her circulatory system, and; intrauterine

     growth restriction which is a complication common in

     multiples pregnancies, in which the fetus is growing

     appropriately within the uterus.

  40.   As a result of these substantial limitations, plaintiff needed

     and requested reasonable accommodations including a

     modified work schedule with a reduction in hours, and

     eventually a period of leave so that she could be on bed rest

     before the birth of her triplets.




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  41.   In making her requests for accommodation, plaintiff made

     defendant aware of the complicated nature of her pregnancy

     and its disabling impact on her.

  42.   Due to the “high risk” and complicated nature of the

     multiples pregnancy, plaintiff had to undergo a surgical

     delivery of the triplets.

  43.   As a result, plaintiff was forced to request a reasonable

     accommodation in the form of approximately four weeks of

     additional leave time.

  44.   At all relevant times, plaintiff had the requisite skill,

     experience, education and other job-related requirements of

     the position she held with defendant, and could perform her

     job with or without reasonable accommodations.

  45.   Thus, at all relevant times she was a “qualified individual

     with a disability” under 42 U.S.C. § 12111(8).

  46.   Despite her qualifications and desire to return to work,

     defendant discriminated against plaintiff by failing to provide

     the requested accommodation of additional leave, and

     ultimately, terminating her employment in violation of the

     ADAAA.



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      47.   As a result of defendant’s violation of the ADAAA, plaintiff

         has suffered the damages alleged herein.




      WHEREFORE, plaintiff requests judgment against defendant,

and the following relief:

            a. reinstatement of plaintiff to her previous employment

               position with all of the benefits and seniority of that

               position, as though her employment had never been

               unlawfully terminated;

            b. compensation for lost wages and benefits;

            c. compensatory and punitive damages as available by

               law;

            d. an award of reasonable attorneys fees and costs

               associated with this action, and;

            e. any other relief this Court may deem just and

               equitable.




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                        JURY DEMAND

  Plaintiff demands a Jury Trial on all issues so triable.

                                       Respectfully submitted,

                                       /s/ Jamie Ray-Leonetti
                                       JAMIE RAY-LEONETTI

                                       1315 Walnut Street
                                       Suite 500
                                       Philadelphia, PA 19107
                                       (215) 238-8070 x 219




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                    CERTIFICATE OF SERVICE

I, Jamie Ray-Leonetti, Esquire, hereby certify that I served a copy of
the foregoing first amended complaint on counsel for defendant as
follows:

Marshall Dennehey Warner Coleman & Goggin
Lee C. Durivage, Esquire
2000 Market Street, Suite 2300
Philadelphia, PA 19103
(via ECF electronic case filing system)


                                         /s/ Jamie Ray-Leonetti

DATED: 3/18/15




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